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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 JACOVETTI LAW, P.C., et al.,                    Case No. 2:20-cv-00163-JDW

                 Plaintiffs,

        v.

 JAMES EVERETT SHELTON, et al.,

                 Defendants.


                                           ORDER

       AND NOW, this 20th day of May, 2020, for the reasons stated in the accompanying

Memorandum, it is ORDERED as follows:

       1.       Defendants James Everett Shelton’s and Final Verdict Solutions’ Motion to

Disqualify Attorney Joshua Thomas as Attorney of Record for Plaintiffs and For Issuance of Show

Cause Order (ECF No. 37) is DENIED; and

       2.       Joshua Thomas, Esquire’s Motion for Reconsideration of Sanctions Order and

Cross-Motion to Partially Vacate Enlargement Order (ECF No. 38) is DENIED.


                                                   BY THE COURT:


                                                   /s/ Joshua D. Wolson
                                                   JOSHUA D. WOLSON, J.
